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(REv.12/04) . CaSe-S: 4-cr-00915-FB Document 246 Filed 12/27/18 Page 1 of 3

"q%‘ UNITED STATES DISTRICT COURT F\LED

 

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§ \ gt WESTERN DISTRICT 0F TExAs LERK_ U 5 mser OF .‘. A¢
.MO;P"‘/ a &,EW
MAS» BY oEPUTY
/~ " Petition for Warrant or Summons for Ofi`ender Under Supervision
Name of Offender: Ediel Tejada Case Number: SA:14-CR-00915-FB@

 

 

Name of Sentencing Judicial Officer: Honorable F red Biexy, United States District Judge
Date of Original Sentence: S£ptember 9, 2016

Original Offense: Conspiracy to Distribute and Possess with Intent to Distribute Marijuana, in violation of 21
U.S.C.B46, 21 U.S.C. § 84l(a)(lland 21 U.S.C. §84Mb)LD(B)

Original Sentence: 5 years probation

 

 

 

 

 

Type of Supervision: Probation Date Supervision Commenced: September 9, 2016
Assistant U.S. Attorney: Eric Joesph Fuchs Defense Attorney: Jason Davis
PREVIOUS COURT ACTION
None. H19-05 92M
PETITIONING TI-IE COURT `~

E To issue a warrant
13 To issue a summons

The probation officer believes that the offender has violated the following condition(s) of supervision:

Violation Number Natu;e of Noncompli@cg

 

l. Mandatog Condition No. 1: The defendant shall not commit another federal, state, or local
crime during the term of supervision.

2. Mandgtorv Condition No. 125 The defendant shall not unlawfully possess a controlled
substance.

On November 15, 2018, Ediel Tejada and his wife, Claudia Marlene Lopez, were arrested by
the Arizona Department of Public Safety, near Flagstaff, Coconino, Arizona for the offenses
of Possession/Use of Marijuana and Narcotic Drug Possession/Use. According to the
Arizona Department of Public Safety report, troopers observed a vehicle driven by Tejada
traveling at a high rate of speed and a traffic stop was conducted. Upon contact, Tejada stated
he was returning to Houston, Texas, from Califomia and denied any narcotic eontraband.
Troopers searched the vehicle and discovered $10,000 in a woman’s purse and passport, 14
grams of marijuana, and five vape cartridges (2500 milligrams). The case remains pending
formal indictment

 

 

 

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4. Standarg anditign No. 1: The defendant shall not leave the judicial district without
permission of the court or probation officer.

During his arrest on November 15, 2018, by the Arizona Department of Public Safety, the
offender admitted he traveled to Califomia for approximately three to four days without the
permission of the Court or probation officer.

5. Standard Condition No. 11: The defendant shall notify the probation officer within seventy-
two hours of being arrested or questioned by a law enforcement officer.

On November 15, 2018, the offender was arrested by the Arizona Department of Public
Safety and failed to report his arrest to the U.S. Probation Offlcer within seventy-two hours.

U.S. Probation Officer Recommendation: Mr. Tejada has an extensive criminal history which began in his early 20’s.
His criminal history consists of Possession of Marijuana 2,000 pounds greater than 50 pounds, Deadly Conduct,
Possession of a Controlled Substance PG 3 Less Than 28 Grams, Criminal Mischief $1,500 to $20,000, Assault Causes
Bodily Inj ury, Unlawful Restraint, Money Laundering, Aggravated Assault with a Deadly Weapon, Arson, and
Aggravated Kidnapping. He has a Criminal Category of four and according to the Presentence Report, his substance
abuse began in his early teens. His substance abuse history includes alcohol and marij uana.

The offender commenced his term of probation on September 9, 2016 and is being supervised in the Southern District
of Texas - McAllen Division. While on probation, the offender has maintained stable employment, a stable relationship
with his wife (co-defendant in the federal case), and stable residence. He has complied with his conditions of probation
until his arrest on November 15, 2018, by the Arizona Department of Public Safety for the offenses of Possession of
Marijuana Less Than Two Ounces and Drug Possession/Use Synthetic Narcotic-Possession.

Due to the offender’s continued involvement in criminal conduct, it is respectfully recommended a warrant be issued
for the offender and his term of probation be revoked. 5

l:l The term of supervision should be

l:l revoked. (Maximum penalty: 3 years imprisonment; Up to Life supervised release;
and payment of any unsatisfied monetary sanction previously imposed)

l:l extended for __ years, for a total term of __ years.

|:| The conditions of supervision should be modified as follows:

    

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Brenda Trejo-Olivarri ’rr= ine Arauza
Supervising U.S. Probation Offlcer U.S. Probation Officer
Telephone: (210) 244-5300, Ext. 55372 Telephone: (210) 244-5300 Ext. 55356

Date: December 20, 2018

 

 

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cc: Eric Joesph Fuchs
Assistant U.S. Attorney

Marc S. Martinez
Assistant Deputy Chief U.S. Probation Officer

 

 

TH.E COURT ORDERS:

?ction.
The issuance of a warrant.
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